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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     ELKINS



AUDREY M. COLLINS,

                Plaintiff,

v.                                                       Civil Action No. 2:16-cv-113
                                                         (BAILEY)

OCWEN LOAN SERVICING, LLC,
and DEUTSCHE BANK NATIONAL
TRUST COMPANY, as Trustee for Novastar
Mortgage Funding Trust, Series 2007-1
Novastar Home Equity Loan
Asset-Backed Certificates, Series 2007-1,

                Defendants.


                               ORDER DISMISSING CASE

       Inasmuch as counsel have advised this Court that the parties have reached a

settlement agreement on all matters in the above-styled action, it is ORDERED that this

civil action be, and the same is hereby, DISMISSED WITH PREJUDICE and retired from

the docket of this Court, subject to reopening on motion of any party, and for good cause

shown, within ninety (90) days.

       The parties need not submit any additional proposed dismissal or other final order

unless it is required by law or is necessary under the terms of any agreement resolving this

civil action.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein.
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    DATED: November 3, 2017.
